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FILED
DEC 18 2026

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

rf

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
) .
Plaintiff, i ® oO CR 00479
Vv. ) CASE NO.
) Title 18, United States Code,
TYRELL JENNINGS, ) Sections 922(g)(1) and 924(a)(8)
)
Defendant. J J U D (= - PO STER

COUNT 1
(Felon in Possession of Firearm and Ammunition, 18 U.S.C. §§ 922(2)(1) and 924(a)(8))

The Grand Jury charges:

1. On or about December 10, 2024, in the Northern District of Ohio, Eastern
Division, Defendant TYRELL JENNINGS, knowing he had previously been convicted of
crimes punishable by imprisonment for a term exceeding one year, those being: Attempted
Robbery in Cuyahoga County Common Pleas Court Case No. CR-07-503567-A, on or about
December 13, 2007; Aggravated Robbery in Cuyahoga County Common Pleas Court Case No.
CR-08-5 19369-A, on or about April 29, 2009; and Burglary in Cuyahoga County Common
Pleas Court Case No. CR-23-682228-A, on or about November 29, 2023, did knowingly
possess in and affecting interstate and foreign commerce, firearms, to wit: a Smith and Wesson,
model MP9, 9mm caliber pistol, serial number NBJ8234; a Rock Island Armory, model 1911,
45 caliber pistol, serial number RIA1071472, and ammunition, said firearms and ammunition
having been shipped and transported in interstate and foreign commerce, in violation of Title

18, United States Code, Sections 922(g)(1) and 924(a)(8).
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FORFEITURE
The Grand Jury further charges:

2. For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 924(d)(1), and Title 28, United States Code, Section 2461(c), the allegation of Count 1
is incorporated herein by reference. As a result of the foregoing offense, Defendant TYRELL
JENNINGS, shall forfeit to the United States any and all firearms and ammunition involved in

or used in the commission of the violation charged herein.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
